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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA

PAUL STORY, individually and on behalf of all
others Sirnilarly Situated,

Plaintiff,
v.

MAMMOTH MOUNTAIN SKI AREA, LLC, a
DelaWare limited-liability company,

Defendant.

 

 

 

Case No. 2: l4-CV-02422-JAM-DB

[P-IM'B] FINAL JUDGMENT AND

DISMISSAL WITH PREJUDICE
Assignea’ to Hon. Johfz A. Mena’ez

[PROPOSED] FINAL J. & DISMISSAL WITH PREJUDlCE - Case No. l4-CV-02422

 

 

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Case 2:14-cv-O2422-.]A|\/|-DB Document 93 Filed 03/13/18 Page 2 of 2

Having entered the Final Order, the Court HEREBY ENTERS JUDGMENT AS FOLLOWS:1

l. Consistent with the Settlement Agreement and the Final Order, judgment is entered as to
all Settlement Class Members. No Class Members submitted Requests for Exclusion pursuant to the
procedure set forth in the Settlement Agreement; upon the Effective Date, all Class Members therefore
shall have released the Released Parties from the Released Claims for the Class Period.

2. The Action is dismissed with prejudice.

3. Notwithstanding the dismissal with prejudice, the Court retains jurisdiction relating to the
administration, consummation, enforcement, and interpretation of the Settlement Agreement, the Final
Order, the Final Judgment, and for any other necessary purpose.

IT IS SO ORDERED.

Dated: 3'/3'20/5/ %%)WM

/ . John A. Mer{dez
.S. Distrz`ct Judge

 

1 Unless otherwise noted, all capitalized terms used herein have the meanings set forth in the
Settlement Agreement attached as Exhibit 1 to the “Declaration of David Zelenski in Support of
Plaintiff’ s Motion for Preliminary Approval of Class-Action Settlement.”

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[PROPOSED] FINAL J. & DlSMlSSAL WITH PREJUDICE - Case No. l4-CV-02422

 

